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                 SETTLEMENT AGREEMENT AND MUTUAL RELEASE

        This Settlement Agreement and Mutual Release (the “Agreement”) dated April 30, 2021,
is entered into by and among: Robert “Bob” Gross (“Bob Gross”); Melodie Gross; AK Meritage
Companies, LLC (“Original Meritage”); RB Enterprises, LLC, as debtor and debtor in possession
(“RB Enterprises”); IT, LLC (“IT, LLC”); Bistro IT, LLC (“Bistro IT”); Meritage Management
Company, LLC f/k/a Meritage Real Estate Advisors, LLC (“Meritage Management”); Jack A.
Barrett, as debtor and debtor in possession (“Jack Barrett”); Dawn E. Barrett; Meritage
Companies, LLC, as debtor and debtor in possession (“New Meritage”); Mystery Ranch, LLC
(“Mystery Ranch”); Mountain Vista Trails, LLC (“Mountain Vista”); and NOC 1700, LLC
(“NOC 1700”). The foregoing parties to this Agreement are collectively referred to as the
“Parties” and individually as a “Party.”

                                          RECITALS

        A.      In 2014, Jack Barrett and Mystery Ranch commenced an action against Bob Gross
and RB Enterprises in the Alaska Superior Court designated as Mystery Ranch, LLC v. Gross, Case
No. 3AN-14-08418 (Alaska Sup. Ct. 2014) (the “Alaska Mystery Ranch Action”), which was
referred to arbitration before the American Arbitration Association as Case No. 01-15-0005-1171
(the “Alaska Mystery Ranch Arbitration”).

       B.     In 2015, Jack Barrett and New Meritage commenced an action against Bob Gross
and Original Meritage in the Alaska Superior Court designated as Meritage Companies, LLC v.
Gross, Case No. 3AN-15-08320 (Alaska Sup. Ct. 2015) (the “Alaska Meritage Action”).

        C.      In connection with the Alaska Meritage Action, in 2015 Bob Gross commenced an
action in the Utah District Court designated as Meritage Companies, LLC v. AK Meritage
Companies, LLC, Case No. 150906138 (Utah Dist. Ct. 2015). In 2016, New Meritage commenced
an action against Bob Gross and Original Meritage in the Utah District Court designated as AK
Meritage Companies, LLC v. Meritage Companies, LLC, Case No. 160906412 (Utah Dist. Ct.
2016). Finally, in 2020, Dawn Barrett and Mountain Vista commenced an action against Original
Meritage and others designated as Mountain Vista Trails, LLC v. AK Meritage Companies, LLC,
Case No. 200902574 (Utah Dist. Ct. 2020). The foregoing actions in this recital are collectively
referred to as the “Utah Actions”.

       D.    In 2020, New Meritage filed a voluntary bankruptcy petition commencing its
chapter 11 case in the United States Bankruptcy Court, District of Arizona (the “Arizona
Bankruptcy Court”) designated as In re Meritage Companies, LLC, Case No. 2:20-bk-07718-
MCW (Bankr. D. Ariz.) (the “Meritage Bankruptcy Case”).

       E.     In 2020, Jack Barrett filed a voluntary bankruptcy petition commencing his chapter
11 bankruptcy case in the Arizona Bankruptcy Court designated as In re Barrett, Case No. 2:20-
bk-07712-MCW (Bankr. D. Ariz.) (the “Barrett Bankruptcy Case”).

       F.      In connection with the Barrett Bankruptcy Case, in 2020 Bob Gross and Original
Meritage filed an adversary proceeding complaint against Jack Barrett and Dawn Barrett seeking
a determination of dischargeability of debt in the Barrett Bankruptcy Case designated as Gross v.

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Barrett, Adv. Proc. No. 2:20-ap-00280-MCW (Bankr. D. Ariz.) (the “Barrett Adversary
Proceeding”).

       G.     In 2021, RB Enterprises filed a voluntary bankruptcy petition commencing its
chapter 11 bankruptcy case in the United States Bankruptcy Court, District of Alaska (the “Alaska
Bankruptcy Court”) designated as In re RB Enterprises, LLC, Case No. 21-00040 (Bankr. D. Ak.
2021) (the “RB Bankruptcy Case”).

       H.      In connection with the Alaska Meritage Action, Bob Gross and Original Meritage
obtained a jury verdict against Jack Barrett and New Meritage finding Jack Barrett and New
Meritage liable to Bob Gross and Original Meritage (the “Jury Verdict”). The Arizona
Bankruptcy Court granted relief from the automatic stay to permit the damages phase of the trial
to conclude in the Alaska Superior Court.

       I.     In connection with the Alaska Mystery Ranch Action, Jack Barrett and Mystery
Ranch obtained an arbitration award against RB Enterprises and in favor of Mystery Ranch, that
was reduced to a judgment, which was stayed as to RB Enterprises by the commencement of the
RB Bankruptcy Case.

        J.      On March 17, 2021, the Parties participated in a global mediation session before
the Honorable Daniel P. Collins, United States Bankruptcy Judge, District of Arizona, and reached
a resolution of all of the claims, counterclaims and contested matters asserted between the Parties.
The terms of the settlement were read into the record as reflected by the (1) the Minute Entry
entered as Docket No. 292 by Judge Collins in the Barrett Bankruptcy Case, and (2) the Minute
Entry entered as Docket No. 311 by Judge Collins in Meritage Bankruptcy Case (collectively, the
“Settlement”). The Parties and their counsel agreed on the record to the terms of the Settlement
at the conclusion of the mediation session.

       K.       Bob Gross, Melodie Gross, Original Meritage, and RB Enterprises (collectively,
the “Gross Parties”), on the one hand, and Jack Barrett, Dawn Barrett, New Meritage, Mystery
Ranch, Mountain Vista, and NOC 1700 (collectively, the “Barrett Parties”), after consultation
with their respective legal counsel, have made their own independent assessment of:

                1.       the merits and potential value of: (i) the claims asserted or the contested
        matters pursued by certain of the Gross Parties against Jack Barrett and New Meritage in
        the Alaska Meritage Action, the Meritage Bankruptcy Case, and the Barrett Bankruptcy
        Case; (ii) the claims asserted by Bob Gross and Original Meritage against Jack Barrett and
        Dawn Barret in the Barrett Adversary Proceeding; (iii) the claims asserted by Jack Barrett
        and Mystery Ranch against Bob Gross and RB Enterprises in the Alaska Mystery Ranch
        Action, the Alaska Mystery Ranch Arbitration, and the RB Bankruptcy Case; (iv) the
        claims asserted or the contested matters pursued by Jack Barrett and New Meritage against
        Bob Gross and New Meritage in the Meritage Bankruptcy Case and the Barrett Bankruptcy
        Case; and (v) the claims and counter claims asserted by and among certain of the Gross
        Parties and certain of the Barrett Parties in the Utah Actions;

                2.     the potential recovery for any judgment that may be entered in favor of
        either the Gross Parties or the Barrett Parties, as the case may be, in the Alaska Meritage

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        Action, the Alaska Mystery Ranch Action, the Alaska Mystery Ranch Arbitration, the
        Meritage Bankruptcy Case, the Barrett Bankruptcy Case, the Barrett Adversary
        Proceeding, the Utah Actions, or the RB Bankruptcy Case; and

                3.      the estimated amount of time and expense involved in achieving a favorable
        result against either the Gross Parties or the Barrett Parties, as the case may be, and the
        risks and associated costs of achieving such a favorable result, in the Alaska Meritage
        Action, the Alaska Mystery Ranch Action, the Alaska Mystery Ranch Arbitration, the
        Meritage Bankruptcy Case, the Barrett Bankruptcy Case, the Barrett Adversary
        Proceeding, the Utah Actions, or the RB Bankruptcy Case.

Based upon this independent assessment, the Gross Parties and the Barrett Parties each believe
that the settlement set forth in this Agreement reflects a full and fair compromise of the foregoing
claims, contested matters and actions between the Parties, and that the settlement set forth in this
Agreement constitutes reasonably equivalent value for the compromise and settlement of the
foregoing claims, contested matters and actions between the Parties.

        L.     As a result of the negotiations between the Parties, and expressly without any
admission of liability, the Parties now desire to compromise, settle and resolve all claims, disputes
and differences between them as set forth in this Agreement.

                                          AGREEMENT

       In consideration of the foregoing and for other good and valuable consideration, the receipt
and sufficiency of which is hereby acknowledged, the Parties hereto agree as follows:

1. Recitals.

       1.1.    The Recitals are incorporated herein by this reference and the Parties agree that the
information recited above is true and correct.

2.      Terms of Settlement.

        2.1.    Scope of the Settlement. The Settlement consists of: (A) the settlement of (i) all
claims asserted by Bob Gross and Original Meritage against Jack Barrett and New Meritage in the
Alaska Meritage Action, the Meritage Bankruptcy Case, and the Barrett Bankruptcy Case; (ii) all
claims asserted by Bob Gross and Original Meritage against Jack Barrett and Dawn Barrett in the
Barrett Adversary Proceeding; (iii) all claims asserted by Jack Barrett and Mystery Ranch against
Bob Gross or RB Enterprises in the Alaska Mystery Ranch Action and the Alaska Mystery Ranch
Arbitration; (iv) all claims asserted by and among Jack Barrett, Dawn Barrett, Mountain Vista,
Mystery Ranch, Original Meritage, New Meritage and Bob Gross in the Utah Actions; (B) the
transfer of Mystery Ranch’s ownership in IT, LLC and Bistro IT to RB Enterprises; and (C) the
dismissal of the Barrett Adversary Proceeding, the Alaska Meritage Action, the Alaska Mystery
Ranch Arbitration, the Alaska Mystery Ranch Action, the Utah Actions, and the RB Bankruptcy
Case.

        2.2.    Effective Date of the Settlement. The Settlement shall become effective on the date
that the last of the orders of the Arizona Bankruptcy Court and the Alaska Bankruptcy Court
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become final and non-appealable (the “Effective Date”). By way of illustration, if the Arizona
Bankruptcy Court order approving this Agreement is entered on May 5, 2021 and the Alaska
Bankruptcy Court order approving this Agreement is entered on May 10, 2021, then the Effective
Date per Rule 8002(a)(1) of the Federal Rules of Bankruptcy Procedure would be May 24, 2021.
If any of the orders approving this Agreement are stayed on appeal or otherwise, then the Parties
shall confer on whether to waive the finality requirements of this Paragraph.

        2.3.     Transfer and/or Dissolution of LLC Interests.

                 2.3.1. Mystery Ranch shall unconditionally and irrevocably transfer all right, title
        and interest in and to its ownership interest in IT, LLC to RB Enterprises such that RB
        Enterprises shall become the sole owner and sole member of IT, LLC as of the Effective
        Date. A true and complete copy of the Assignment and Transfer of the IT, LLC Membership
        Interest is attached hereto as Exhibit 1. As part of this transfer, Mystery Ranch shall waive
        any rights it may have to any profit distributions or the return of any capital contributions
        as a result of its ownership interest in IT, LLC. As part of this transfer, RB Enterprises
        shall assume all responsibility for any liability or pass-through liability of IT, LLC arising
        from events occurring after the Effective Date and shall indemnify Mystery Ranch for such
        liability.

                 2.3.2. Mystery Ranch shall unconditionally and irrevocably transfer all right, title
        and interest in and to its ownership interest in Bistro IT to RB Enterprises such that RB
        Enterprises shall become the sole owner and sole member of Bistro IT as of the Effective
        Date. A true and complete copy of the fully executed Assignment and Transfer of the
        Bistro IT, LLC Membership Interest is attached hereto as Exhibit 2. As part of this transfer,
        Mystery Ranch shall waive any rights it may have to any profit distributions or the return
        of any capital contributions as a result of its ownership interest in Bistro IT. As part of this
        transfer, RB Enterprises shall assume all responsibility for any liability or pass-through
        liability of Bistro IT arising from events occurring after the Effective Date and shall
        indemnify Mystery Ranch for such liability.

                 2.3.3. Within thirty (30) days of the Effective Date (the “Utility Transfer
        Deadline”), Gross shall cause Meritage Management to terminate any utility contracts that
        Meritage Management has entered into on behalf of IT, LLC or the hotel commonly known
        as the Inlet Tower Hotel located in Anchorage, Alaska (the “Inlet Tower Hotel”). RB
        Enterprises, Bob Gross, and Jack Barrett agree to cooperate in the efforts to terminate such
        utility service. Thereafter, IT, LLC shall obtain new utility service for the Inlet Tower
        Hotel through itself or its designee. Any deposit held by a utility provider for the benefit
        of Meritage Management shall be remitted to IT, LLC or its designee. Following the earlier
        of (i) the completion of the transfer of the utilities or (ii) the Utility Transfer Deadline, Bob
        Gross shall file the Articles of Dissolution for Meritage Management attached hereto as
        Exhibit 3 with the State of Alaska’s Divisions of Corporations, Business and Professional
        Licensing to dissolve Meritage Management.

               2.3.4. Within ten (10) business days following the last of the orders dismissing the
        Alaska Meritage Action, the Alaska Mystery Ranch Action, the Alaska Mystery Ranch
        Arbitration, the Utah Actions, and the Barrett Adversary Proceeding becoming final and

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        non-appealable orders, Bob Gross shall file the Articles of Dissolution for Original
        Meritage attached hereto as Exhibit 4 with the State of Alaska’s Divisions of Corporations,
        Business and Professional Licensing to dissolve Original Meritage.

                2.3.5. To the extent any “partnership” could be deemed to still exist in any way
        between any of the Gross Parties and any of the Barrett Parties, such “partnership” is
        deemed terminated, such that it is the intention of the Gross Parties and the Barrett Parties
        that each will go their separate ways and shall have no business ventures between them.

        2.4.     Transfer of Court Registry Funds.

               2.4.1. Jack Barrett and Mystery Ranch hereby stipulate and agree to the return of
        all of the funds held by the Alaska Superior Court in its court registry totaling
        approximately $380,000 in the Alaska Mystery Ranch Action to IT, LLC. A true and
        complete copy of the fully executed Stipulation re (1) Return of Alaska Mystery Ranch
        Action Registry Funds and (2) Dismissal of Alaska Mystery Ranch Action and Alaska
        Mystery Ranch Arbitration and the Order Approving Stipulation are attached hereto as
        Exhibit 5 and Exhibit 6, respectively.

               2.4.2. Jack Barrett and New Meritage hereby stipulate and agree to the return of
        all of the funds held by the Alaska Superior Court in its court registry totaling
        approximately $26,000 in the Alaska Meritage Action to Bob Gross or his designee. A
        true and complete copy of the fully executed Stipulation re (1) Return of Alaska Meritage
        Action Registry Funds and (2) Dismissal of Alaska Meritage Action and the Order
        Approving Stipulation are attached hereto as Exhibit 7 and Exhibit 8, respectively.

              2.4.3. New Meritage shall retain all of the escrow funds held by the Arizona
        Bankruptcy Court in its court registry totaling approximately $200,000 in the Meritage
        Bankruptcy Case.

        2.5.     Dismissal of Claims and Actions.

                         2.5.1. Dismissal of Alaska Meritage Action. In exchange for the transfer
                 of membership interests as set forth in Paragraphs 2.3.1 and 2.3.2, the LLC
                 dissolutions as set forth in Paragraphs 2.3.3 and 2.3.4, and the transfer of registry
                 funds as set forth in Paragraph 2.4, Bob Gross and Original Meritage shall dismiss
                 their claims with prejudice against Jack Barrett and New Meritage in the Alaska
                 Meritage Action as set forth in the above-referenced Stipulation and Order attached
                 hereto as Exhibit 7 and Exhibit 8, respectively. Additionally, neither Bob Gross
                 nor Original Meritage will oppose a motion by Jack Barrett or New Meritage
                 seeking to seal the Jury Verdict in the Alaska Meritage Action.

                         2.5.2. Dismissal of the Barrett Adversary Proceeding. In exchange for the
                 transfer of membership interests as set forth in Paragraphs 2.3.1 and 2.3.2, the LLC
                 dissolutions as set forth in Paragraphs 2.3.3 and 2.3.4, and the transfer of registry
                 funds as set forth in Paragraph 2.4, Bob Gross and Original Meritage shall dismiss
                 their claims with prejudice against Jack Barrett and Dawn Barrett in the Barrett
                 Adversary Proceeding. A true and complete copy of the Stipulation to Dismiss the
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                 Barrett Adversary Proceeding and the Order Approving Stipulation are attached
                 hereto as Exhibit 9 and Exhibit 10, respectively.

                         2.5.3. Dismissal of the Alaska Mystery Ranch Action and the Alaska
                 Mystery Ranch Arbitration. In exchange for the transfer of membership interests
                 as set forth in Paragraphs 2.3.1 and 2.3.2, the LLC dissolutions as set forth in
                 Paragraphs 2.3.3 and 2.3.4, and the transfer of registry funds as set forth in
                 Paragraph 2.4, Jack Barrett and Mystery Ranch shall dismiss their claims with
                 prejudice against Bob Gross and RB Enterprises in the Alaska Mystery Ranch
                 Action and the Alaska Mystery Ranch Arbitration as set forth in the above-
                 referenced Stipulation and Order attached hereto as Exhibit 5 and Exhibit 6,
                 respectively.

                         2.5.4. Dismissal of the Utah Actions. In exchange for the transfer of
                 membership interests as set forth in Paragraphs 2.3.1 and 2.3.2, the LLC
                 dissolutions as set forth in Paragraphs 2.3.3 and 2.3.4, and the transfer of registry
                 funds as set forth in Paragraph 2.4, each applicable Party shall dismiss with
                 prejudice their claims with prejudice against any other applicable Party asserted in
                 each of the Utah Actions. A true and complete copy of the Stipulation to Dismiss
                 Claims in the 2016 Utah Action and the related Order Approving Stipulation are
                 attached hereto as Exhibit 11 and Exhibit 12, respectively. A true and complete
                 copy of the Stipulation to Dismiss Claims in the 2020 Utah Action and the related
                 Order Approving Stipulation are attached hereto as Exhibit 13 and Exhibit 14,
                 respectively.

                         2.5.5. Dismissal of the RB Enterprises Bankruptcy Case. In addition to
                 obtaining approval of this Agreement from the Arizona Bankruptcy Court, RB
                 Enterprises shall seek from the Alaska Bankruptcy Court: (i) the approval of this
                 Agreement, and (ii) at the election of RB Enterprises, the dismissal of the RB
                 Bankruptcy Case. Neither Jack Barrett, Dawn Barrett, New Meritage, Mystery
                 Ranch, nor Mountain Vista shall object to the dismissal of the RB Bankruptcy Case
                 in the event that such dismissal is sought, nor shall they induce or encourage any
                 other party to object. A true and complete copy of the Stipulation to Dismiss the
                 RB Bankruptcy Case and the Order Approving Stipulation are collectively attached
                 hereto as Exhibit 15 and Exhibit 16, respectively.

        2.6.     Post-Closing Obligations.

                        2.6.1. Following the transfer of interests as set forth in Paragraphs 2.3.1
                 and 2.3.2, Bob Gross and RB Enterprises shall use their best efforts to obtain a
                 novation from the Alaska Housing Finance Corporation (“AHFC”) for Mystery
                 Ranch with respect to its co-obligation of the IT, LLC loan within sixty (60) days
                 following the entry of the orders approving the Settlement by the Arizona
                 Bankruptcy Court and the Alaska Bankruptcy Court becoming final and non-
                 appealable. In the event that they are not able to obtain such novation, Jack Barrett
                 and Dawn Barrett shall be entitled to, but are not required to, take any and all
                 necessary steps they deem necessary to dissolve Mystery Ranch.

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                         2.6.2. If there is any delay in the termination of Old Meritage, Jack Barrett
                 and Bob Gross shall cooperate in the submission of the necessary paperwork to
                 change the name of Original Meritage to a name that does not use the term
                 “Meritage”. Bob Gross, Melodie Gross, and their affiliated entities agree not to use
                 the term “Meritage” for any current or future business ventures.

                         2.6.3. Within ten (10) business days of the Effective Date, Bob Gross
                 and/or Original Meritage will submit the paperwork necessary to transfer any
                 internet domain names using the term “Meritage” to Jack Barrett or his designee.

                         2.6.4. RB Enterprises shall provide to Mystery Ranch all documents of IT,
                 LLC and Bistro IT as such records are kept in the ordinary course of business, that
                 are reasonably necessary to the preparation of the tax returns of IT, LLC and Bistro
                 IT until all final tax returns of IT, LLC or Bistro IT that impact Mystery Ranch have
                 been filed with the IRS. RB Enterprises shall provide to Mystery Ranch all
                 documents of Meritage Management as such records are kept in the ordinary course
                 of business, that are reasonably necessary to the preparation of the tax returns of
                 Meritage Management until all final tax returns of Meritage Management that
                 impact Jack Barrett have been filed with the IRS.

        2.7.     Obligations in the Bankruptcy Cases.

                         2.7.1. Bob Gross and Original Meritage shall file Notices of Withdrawal
                 of their Proofs of Claim designated as Claim Nos. 5 and 6, respectively, on the
                 Claims Registry for the Meritage Bankruptcy Case. A true and complete copy of
                 the Notices of Withdrawal are attached hereto Exhibit 17 and Exhibit 18,
                 respectively.

                         2.7.2. Bob Gross and Original Meritage shall file Notices of Withdrawal
                 of their Proofs of Claim designated as Claim Nos. 13 and 14, respectively, on the
                 Claims Registry for the Meritage Bankruptcy Case. A true and complete copy of
                 the Notices of Withdrawal are attached hereto Exhibit 19 and Exhibit 20,
                 respectively.

                          2.7.3. Bob Gross and Original Meritage shall file Notices of Withdrawal
                 of (i) their objections to confirmation of Jack Barrett’s chapter 11 plan in the Barrett
                 Bankruptcy Case (Barrett Bankruptcy Case Docket No. 142), (ii) their objection to
                 the interim fee application of Beth Przywojski in the Meritage Bankruptcy Case
                 (Meritage Bankruptcy Case Docket No. 263), (iii) their pending subpoenas issued
                 in the Meritage Bankruptcy Case, and (iv) their Motion to Quash Debtor’s
                 Subpoenas in the Meritage Bankruptcy Case. Further, Bob Gross and Original
                 Meritage shall refrain and forbear from filing further objections or motions in the
                 Meritage Bankruptcy Case and the Barrett Bankruptcy Case and/or taking any
                 position which is adverse to Jack Barrett or New Meritage within such proceedings.

                         2.7.4. Jack Barrett and New Meritage shall file Notices of Withdrawal of
                 (i) their objections to the Proofs of Claim of Bob Gross and Original Meritage

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                 (Barrett Bankruptcy Case Docket No. 134 and Meritage Bankruptcy Case Docket
                 No. 141) in light of Bob Gross and Original Meritage’s withdrawal of their Proofs
                 of Claim, (ii) their pending subpoenas issued in the Meritage Bankruptcy Case, and
                 (iii) their Motion to Quash Bob Gross and Original Meritage’s Subpoenas in the
                 Meritage Bankruptcy Case.

        2.8.     Forbearance of Rights and Remedies.

                         2.8.1. North Ogden Project. Upon the Effective Date, the Gross Parties
                 and their affiliated entities shall not assert any further claim or interest to the 66+
                 acre real estate project commonly known as Village at Prominence Point located in
                 North Ogden, Utah (the “North Ogden Project”), and shall not interfere either
                 directly or indirectly with the business operations or the development of the North
                 Ogden Project and shall file no further lis pendens or other form of lien with respect
                 to the North Ogden Project. In connection with the release of the constructive trust
                 interest in the North Ogden Project of which Bob Gross and Original Meritage are
                 beneficiaries, New Meritage shall assume all responsibility for any liability related
                 to the North Ogden Project arising from events occurring after the Effective Date
                 and shall indemnify Bob Gross and Original Meritage only in their capacity as
                 beneficiaries under the constructive trust for such liability.

                          2.8.2. Inlet Tower Hotel. Upon the Effective Date, the Barrett Parties and
                 their affiliated entities shall not assert any further claim to or interfere either directly
                 or indirectly with (i) the Inlet Tower Hotel, (ii) IT, LLC or (iii) Bistro IT or the
                 business operations of the foregoing. In connection with the transfer of Mystery
                 Ranch’s interest in IT, LLC and Bistro IT, RB shall assume all responsibility for
                 any liability related to IT, LLC or Bistro IT arising from events occurring after the
                 Effective Date and shall indemnify Mystery Ranch for such liability.

                         2.8.3. Meritage Bankruptcy Case. The Gross Parties agree that they will
                 not assert any further claim of any sort in the Meritage Bankruptcy Case (and shall
                 not induce any third parties from doing so) related to any claims arising from and
                 after the Effective Date. The Gross Parties agree to refrain and forbear (and shall
                 not induce any third party) from taking any positions in the Meritage Bankruptcy
                 Case which are adverse to the Barrett Parties within such proceeding unless excused
                 from this prohibition under the terms of this Agreement. The Barrett Parties agree
                 to refrain and forbear (and shall not induce any third party) from taking any
                 positions in the Meritage Bankruptcy Case which are adverse to the Gross Parties
                 within such proceedings unless excused from such prohibition under the terms of
                 this Agreement.

                         2.8.4. Barrett Bankruptcy Case. The Gross Parties agree that they will not
                 assert any further claim of any sort in the Barrett Bankruptcy Case (and shall not
                 induce any third parties from doing so) related to any claims arising from and after
                 the Effective Date. The Gross Parties agree to refrain and forbear (and shall not
                 induce any third party) from taking any positions in the Barrett Bankruptcy Case
                 which are adverse to the Barrett Parties within such proceeding unless excused from

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                 this prohibition under the terms of this Agreement. The Barrett Parties agree to
                 refrain and forbear (and shall not induce any third party) from taking any positions
                 in the Barrett Bankruptcy Case which are adverse to the Gross Parties within such
                 proceedings unless excused from such prohibition under the terms of this
                 Agreement.

                         2.8.5. RB Bankruptcy Case. The Barrett Parties agree that they will not
                 assert any further claim of any sort in the RB Bankruptcy Case (and shall not induce
                 any third parties from doing so) related to any claims arising from and after the
                 Effective Date. The Barrett Parties agree to refrain and forbear (and shall not
                 induce any third party) from taking any position in the RB Bankruptcy Case which
                 are adverse to the Gross Parties within that proceeding unless excused from this
                 prohibition under the terms of this Agreement. The Gross Parties agree to refrain
                 and forbear (and shall not induce any third party) from taking any position in the
                 RB Bankruptcy Case which are adverse to the Barrett Parties within that proceeding
                 unless excused from this prohibition under the terms of this Agreement.

        2.9.    No Admission of Liability. This Agreement is for the sole purpose of settling the
matters described herein. It is expressly understood and agreed that this Agreement does not
constitute and is not evidence of any admission by any of the Parties hereto of any liability or the
truth of any allegations whatsoever.

3.      Timing of Settlement Obligations and Dismissal of Actions.

        3.1.     Execution of Exhibits. All documentation necessary to carry out the terms of the
Settlement attached hereto as Exhibits shall be fully executed contemporaneously with the
execution of this Agreement and jointly held in escrow by Guidant Law, as counsel for the Barrett-
related parties, and Buchalter, a Professional Corporation, as counsel for the Gross-related parties.
In connection with the execution of the Agreement, counsel for the Parties will share evidence of
execution of all Exhibits via Zoom with counsel for the other parties. On the fifteenth (15th)
calendar day (that is not a weekend or legal holiday) following the entry of the last order of either
the Arizona Bankruptcy Court or the Alaska Bankruptcy Court approving this Settlement, Mr. D.
Lamar Hawkins, Mr. Patrick F. Keery, Ms. Nancy Swift and Mr. Anthony J. Napolitano shall meet
and confer that each order of the Arizona Bankruptcy Court and the Alaska Bankruptcy Court
approving this Settlement is a final and non-appealable order for purposes of establishing the
Effective Date. Upon mutual confirmation in writing of the occurrence of the Effective Date by
the aforementioned counsel, the executed documents shall be deemed released and the Parties shall
proceed with filing such documents as contemplated by this Agreement. In the event the Parties
cannot agree on whether the Effective Date has occurred, the Parties shall resolve such dispute in
accordance with Paragraph 12.6.2 of this Agreement.

       3.2.   Notices of Conditional Settlement. On or before March 24, 2021, Bob Gross and
Original Meritage shall file Notices of Conditional Settlement in the Alaska Meritage Action, the
Alaska Mystery Ranch Action, the Utah Actions, the Meritage Bankruptcy Case, the Barrett
Bankruptcy Case, the Barrett Adversary Proceeding, and the RB Bankruptcy Case.



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        3.3.   Release of Lis Pendens. On or before March 19, 2021, Bob Gross and Original
Meritage shall record a release of the lis pendens recorded in connection with the Utah Actions
per the terms of the Settlement assented to by the Parties on the record in the Arizona Bankruptcy
Court before Hon. Daniel P. Collins on March 17, 2021.

        3.4.    Bankruptcy Court Approval. Immediately following execution of this Agreement,
Bob Gross, Original Meritage, Jack Barrett and New Meritage shall file joint motions under Rule
9019 of the Federal Rules of Bankruptcy Procedure seeking the approval of this Agreement by the
Arizona Bankruptcy Court in the Barrett Bankruptcy Case and the Meritage Bankruptcy Case.
Immediately following execution of this Agreement, RB Enterprises shall file a motion under Rule
9019 of the Federal Rules of Bankruptcy Procedure seeking the approval of this Agreement by the
Alaska Bankruptcy Court in the RB Bankruptcy Case. All such motions shall be heard on the first
available hearing date for the Parties and counsel. The settlement motion in the Barrett Bankruptcy
Case shall also seek authorization under Rule 7041 of the Federal Rules of Bankruptcy Procedure
for the dismissal of the claims of Bob Gross and Original Meritage under 11 U.S.C. § 727
objecting to the discharge of Jack Barrett in the Barrett Bankruptcy Case and the Barrett Adversary
Proceeding.

        3.5.    Transfer of Interests. On the Effective Date, the following transfers shall be
effective: (i) Mystery Ranch’s interest in IT, LLC under Paragraph 2.3.1 of this Agreement, and
(ii) Mystery Ranch’s interest in Bistro IT under Paragraph 2.3.2 of this Agreement.

       3.6.    Dismissal of Actions and Transfer of Court Registry Funds. Within five (5)
business days of the Effective Date:

                         3.6.1. Bob Gross, Original Meritage, Jack Barrett and New Meritage shall
                 file in the Alaska Meritage Action the Stipulation for Dismissal of the Alaska
                 Meritage Action required under Paragraph 2.5.1 of this Agreement and the related
                 transfer of court registry funds to Bob Gross required under Paragraph 2.4.2 of this
                 Agreement.

                          3.6.2. Bob Gross, RB Enterprises, Jack Barrett and Mystery Ranch shall
                 file in the Alaska Mystery Ranch Action and the corresponding Alaska Mystery
                 Ranch Arbitration the Stipulation for Dismissal of the Alaska Mystery Ranch Action
                 and the Alaska Mystery Ranch Arbitration required under Paragraph 2.5.3 of this
                 Agreement and the related transfer of court registry funds under Paragraph 2.4.1.
                 of this Agreement

                        3.6.3. Bob Gross and Original Meritage shall file in the Barrett Adversary
                 Proceeding the Stipulation to Dismiss the Barrett Adversary Proceeding required
                 under Paragraph 2.5.2. of this Agreement.

                        3.6.4. At RB Enterprises’ election, RB Enterprises may file in the RB
                 Bankruptcy Case the Stipulation to Dismiss the RB Bankruptcy Case required under
                 Paragraph 2.5.5 of this Agreement.

       3.7.    Withdrawal of Proofs of Claims and Contested Matters. Within five (5) business
days of the Effective Date:
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                         3.7.1. Bob Gross and Original Meritage shall withdraw their respective
                 Proofs of Claim filed in the Meritage Bankruptcy Case as required under Paragraph
                 2.7.1. of this Agreement.

                         3.7.2. Bob Gross and Original Meritage shall withdraw their respective
                 Proofs of Claim filed in the Barrett Bankruptcy Case as required under Paragraph
                 2.7.2. of this Agreement.

                         3.7.3. Bob Gross and Original Meritage shall file Notices of Withdrawal
                 of the documents specified in Paragraph 2.7.3. of this Agreement.

                        3.7.4. Jack Barrett and New Meritage shall file Notices of Withdrawal of
                 the documents specified in Paragraph 2.7.4 of this Agreement.

4.      Representations and Warranties.

       4.1.     Authority to Execute Agreement. Each Party represents and warrants that it has the
full power and authority to sign and enter into this Agreement and related settlement documents,
to undertake and consummate the transactions contemplated hereby, and to pay, perform and
observe all of the conditions, covenants, agreements and obligations contained herein.

       4.2.    Advice of Counsel. Each Party represents and warrants that it has received the
advice of attorneys of their own choosing in connection with the evaluation and execution of this
Agreement.

         4.3.     No Prior Transfers of Released Items. Each Party represents and warrants that it
has not heretofore sold, assigned, transferred, encumbered, conveyed or otherwise disposed of,
including by way of subrogation, any of the charges, claims, complaints, actions, causes of action,
liabilities, obligations, promises, benefits, agreements, controversies, rights, damages, debts, costs,
losses of services, attorneys’ fees, expenses, costs and compensation of any nature whatsoever
released in this Agreement.

       4.4.    Reliance on Independent Investigation. Each Party represents and warrants that it
has entered into this Agreement in reliance on its own independent investigations and analysis of
the facts underlying the subject matter of this Agreement, no representations, warranties, or
promises of any kind have been made directly or indirectly to induce them to execute this
Agreement other than those that are expressly set forth herein.

        4.5.   No Frustration of Purpose. Each Party represents and warrants that it will not take
any action, which would tend to defeat the intent, purposes or provisions of this Agreement.

        4.6.     Mystery Ranch Representations and Warranties.

                         4.6.1. Mystery Ranch represents and warrants that it owns all right, title
                 and interest in and to its interests in IT, LLC free and clear of all liens,
                 encumbrances or other interests and has not transferred, assigned or conveyed its
                 interest in IT, LLC, which representations and warranties shall be true as of the
                 effective date of the transfer.
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                         4.6.2. Mystery Ranch represents and warrants that it owns all right, title
                 and interest in and to its interests in Bistro IT free and clear of all liens,
                 encumbrances or other interests and has not transferred, assigned or conveyed its
                 interest in Bistro IT, which representations and warranties shall be true as of the
                 effective date of the transfer.

        4.7.     IT, LLC, Bistro IT, Meritage Management Representations and Warranties.

                         4.7.1. IT, LLC, Bistro IT, Meritage Management represent and warrant
                 that each entity is current on its respective obligations to third-parties and that each
                 entity intends to remain current on its respective obligations.

        4.8.   No Additional Representations. Except for the representations and warranties
expressly set forth in this Agreement, each Party acknowledges that he/she/it has relied wholly
upon his/her/its own judgment, belief and knowledge of the existence, nature and extent of each
claim, demand or cause of action that he/she/it/they may have against the other Party, which is to
be released pursuant to this Agreement and that he/she/it/they has not been influenced to any extent
in entering into this Agreement by any representation or statement regarding any such claim,
demand or cause of action made by any other Party (except as expressly set forth in this
Agreement).

        4.9.   No Other Inducement. Each Party acknowledges and represents to the other Party
that no promise, representation or inducement not expressed herein has been made in connection
with this Agreement.

5.      Post-Settlement Litigation Covenants.

        5.1.    Jack Barrett, Dawn Barrett, New Meritage, Mystery Ranch, Mountain Vista, and
NOC 1700 agree not to commence any action against Bob Gross, Melodie Gross, Original
Meritage, RB Enterprises, IT, LLC, Bistro IT, Meritage Management seeking to avoid, set aside
or unwind the transactions contemplated by this Settlement including, without limitation, the
transfer of the ownership interests in IT, LLC or Bistro IT.

        5.2.  Jack Barrett, Dawn Barrett, New Meritage, Mystery Ranch, Mountain Vista, and
NOC 1700 agree not to induce or solicit any other entity or person to commence any action against
Bob Gross, Melodie Gross, Original Meritage, RB Enterprises, IT, LLC, Bistro IT, or Meritage
Management seeking to avoid, set aside or unwind the transactions contemplated by this
Settlement including, without limitation, the transfer of the ownership interests in IT, LLC or
Bistro IT.

        5.3.   Bob Gross, Melodie Gross, Original Meritage, RB Enterprises, IT, LLC, Bistro IT,
Meritage Management agree not commence any action against Jack Barrett, Dawn Barrett, New
Meritage, Mystery Ranch, Mountain Vista or NOC 1700 seeking to avoid, set aside or unwind the
transactions contemplated by this Settlement.

       5.4. Bob Gross, Melodie Gross, Original Meritage, RB Enterprises, IT, LLC, Bistro IT,
Meritage Management agree not to induce or solicit any other entity to commence any action

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against Jack Barrett, Dawn Barrett, New Meritage, Mystery Ranch, Mountain Vista or NOC 1700
seeking to avoid, set aside or unwind the transactions contemplated by this Settlement.

6.      Conditions Precedent.

        6.1.  The conditions precedent for the effectiveness of this Agreement requires: (1) the
confirmation by counsel for their respective parties that all signature pages of all Exhibits to this
Agreement that are required to be signed have been signed contemporaneously with the execution
of this Agreement; and (2) the entry of final and non-appealable orders approving this Agreement
by the Arizona Bankruptcy Court and the Alaska Bankruptcy Court.

7.      Release by the Barrett Related Parties.

        7.1.    Except for the obligations under this Agreement, and subject to the entry of the last
order by the Arizona Bankruptcy Court and the Alaska Bankruptcy Court becoming a final and
non-appealable order, each of Jack Barrett, Dawn Barrett, New Meritage, Mystery Ranch,
Mountain Vista, and NOC 1700, and each of their respective successors, assignors, assigns, present
and former affiliates, parents, subsidiaries, divisions and merged or acquired companies and
operations and their respective past or present directors, officers, partners, members, managers,
employees, independent contractors, agents, attorneys and professionals (the “Barrett Releasing
Parties”) hereby releases and forever discharges Bob Gross, Melodie Gross, Original Meritage,
RB Enterprises, IT, LLC, Bistro IT, and Meritage Management and each of their respective agents,
servants, employees, accountants, attorneys, shareholders, subsidiaries, officers, directors, heirs,
executors, administrators, insurers, successors and assigns (the “Gross Released Parties”) from any
and all claims, demands, liabilities, accounts, obligations, costs, expenses, liens, actions, causes of
action, rights to indemnity (legal or equitable), rights to subrogation, rights to contribution and
remedies of any nature whatsoever, known or unknown, which each of the Barrett Releasing
Parties had, now has, or has acquired, individually or jointly, arising from any facts, actions or
inactions occurring at any time prior to the date of the execution of this Agreement in any way
related to, arising from, or concerning any of the allegations or issues in the Alaska Meritage
Action, the Alaska Mystery Ranch Action, the Alaska Mystery Ranch Arbitration, the Utah
Actions, the Meritage Bankruptcy Case, the Barrett Bankruptcy Case, the Barrett Adversary
Proceeding, or the RB Bankruptcy Case, including specifically, but not exclusively, and without
limiting the generality of the foregoing, any and all of the claims, damages, demands and causes
of action, known or unknown, suspected or unsuspected by each of the Barrett Releasing Parties
(collectively, the “Barrett Released Claims”).

         7.2.   In furtherance of the releases given in Paragraphs 7.1 above, the Barrett Releasing
Parties each acknowledge that they have been advised of, and are familiar with, the decisions of
the Alaska Supreme Court respecting releases, and specifically state that it is still their intention,
and it is a purpose of this Agreement, to discharge absolutely the liability of the other for any and
all claims arising out of the matters described herein, and the Barrett Releasing Parties each
acknowledge and assume all risk, chance or hazard that the damages suffered may be different, or
greater or more extensive than is now known, anticipated or expected. The Barrett Releasing
Parties each specifically waive any right they may now or hereafter have to reform, rescind, modify
or set aside the releases given above due to a mutual or unilateral mistake or otherwise. The risk
of such uncertainty and mistake is expressly assumed by each of the Barrett Releasing Parties in

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view of the consideration and mutual releases given. The Barrett Releasing Parties similarly waive
and relinquish all rights and benefits afforded by any other similar state law providing that a
general release does not extend to claims that the releasing party does not know or suspect to exist
in his or her favor at the time of executing the release, and that if known by him or her would have
materially affected his or her settlement with the debtor or the released party.

        7.3.    Each of the Barrett Releasing Parties further acknowledge and agree that it may
hereafter discover facts in addition to or different from those which they now know or believe to
be true with respect to the Barrett Released Claims they may have, but that nonetheless it is each
of the Barrett Releasing Parties’ intention to fully, finally and forever settle and release all claims,
whether known, unknown, fixed, contingent, suspected, unsuspected, or otherwise as to the Barrett
Released Claims.

        7.4.    The release given by the Barrett Releasing Parties shall be null and void in the event
that the Gross Released Parties take any action seeking to avoid, set aside or unwind the
transactions contemplated by this Settlement, and the Barrett Releasing Parties shall be allowed to
reinstitute any proceeding previously dismissed including, without limitation, the Alaska Mystery
Ranch Arbitration, the Alaska Mystery Ranch Action, and the Utah Actions.

8.      Release by the Gross Related Parties.

        8.1.    Except for the obligations under this Agreement, and subject to the entry of the last
order by the Arizona Bankruptcy Court and the Alaska Bankruptcy Court becoming a final and
non-appealable order, each of Bob Gross, Melodie Gross, Original Meritage, RB Enterprises, IT,
LLC, Bistro IT, Meritage Management, and each of their respective successors, assignors, assigns,
present and former affiliates, parents, subsidiaries, divisions and merged or acquired companies
and operations and their respective past or present directors, officers, partners, members,
managers, employees, independent contractors, agents, attorneys and professionals (the “Gross
Releasing Parties”) hereby releases and forever discharges Jack Barrett, Dawn Barrett, New
Meritage, Mystery Ranch, Mountain Vista, NOC 1700, IT, LLC, Bistro IT, and Meritage
Management and each of their respective agents, servants, employees, accountants, attorneys,
shareholders, subsidiaries, officers, directors, heirs, executors, administrators, insurers, successors
and assigns (the “Barrett Released Parties”) from any and all claims, demands, liabilities, accounts,
obligations, costs, expenses, liens, actions, causes of action, rights to indemnity (legal or
equitable), rights to subrogation, rights to contribution and remedies of any nature whatsoever,
known or unknown, which each of the Barrett Releasing Parties had, now has, or has acquired,
individually or jointly, arising from any facts, actions or inactions occurring at any time prior to
the date of the execution of this Agreement in any way related to, arising from, or concerning any
of the allegations or issues in the Alaska Meritage Action, the Alaska Mystery Ranch Action, the
Alaska Mystery Ranch Arbitration, the Utah Actions, the Meritage Bankruptcy Case, the Barrett
Bankruptcy Case, the Barrett Adversary Proceeding, or the RB Bankruptcy Case, including
specifically, but not exclusively, and without limiting the generality of the foregoing, any and all
of the claims, damages, demands and causes of action, known or unknown, suspected or
unsuspected by each of the Gross Releasing Parties (collectively, the “Gross Released Claims”).

        8.2.   In furtherance of the releases given in Paragraph 8.1 above, the Gross Releasing
Parties each acknowledge that they have been advised of, and are familiar with, the decisions of

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the Alaska Supreme Court respecting releases, and specifically state that it is still their intention,
and it is a purpose of this Agreement, to discharge absolutely the liability of the other for any and
all claims arising out of the matters described herein, and the Gross Releasing Parties each
acknowledge and assume all risk, chance or hazard that the damages suffered may be different, or
greater or more extensive than is now known, anticipated or expected. The Gross Releasing Parties
each specifically waive any right they may now or hereafter have to reform, rescind, modify or set
aside the releases given above due to a mutual or unilateral mistake or otherwise. The risk of such
uncertainty and mistake is expressly assumed by each of the Gross Releasing Parties in view of
the consideration and mutual releases given. The Gross Releasing Parties similarly waive and
relinquish all rights and benefits afforded by any other similar state law providing that a general
release does not extend to claims that the releasing party does not know or suspect to exist in his
or her favor at the time of executing the release, and that if known by him or her would have
materially affected his or her settlement with the debtor or the released party.

        8.3.    Each of the Gross Releasing Parties further acknowledge and agree that it may
hereafter discover facts in addition to or different from those which they now know or believe to
be true with respect to the Gross Released Claims they may have, but that nonetheless it is each of
the Gross Releasing Parties’ intention to fully, finally and forever settle and release all claims,
whether known, unknown, fixed, contingent, suspected, unsuspected, or otherwise as to the Gross
Released Claims.

        8.4.   The release given by the Gross Releasing Parties shall be null and void in the event
that the Barrett Released Parties take any action seeking to avoid, set aside or unwind the
transactions contemplated by this Agreement including, without limitation, the transfer of the
ownership interests in IT, LLC and Bistro IT, and the Gross Releasing Parties shall be allowed to
reinstitute any proceeding previously dismissed including, without limitation, the Barrett
Adversary Proceeding, the Alaska Meritage Action, the Alaska Mystery Ranch Action, the Alaska
Mystery Ranch Arbitration or the Utah Actions.

9.      Attorneys’ Fees and Costs.

        9.1.    Each Party shall bear its own attorneys’ fees and costs in connection with the
Alaska Meritage Action, the Alaska Mystery Ranch Action, the Alaska Mystery Ranch
Arbitration, the Utah Actions, the Meritage Bankruptcy Case, the Barrett Bankruptcy Case, the
Barrett Adversary Proceeding, and/or the RB Bankruptcy Case, the claims released and the
preparation of this Agreement. In the event of any default or breach of this Agreement, or any
action brought to interpret or enforce the terms of this Agreement, the prevailing party shall be
entitled to recover its reasonable attorneys’ fees and costs incurred in any such action.

10.     Notices.

       10.1. Whenever any Party is required or shall desire to give or serve upon any other Party
any notice, demand, request or other communication, each such notice, demand, request or other
communication shall be in writing delivered via certified U.S. Mail or via overnight courier (e.g.,
FedEx or UPS) to the addresses set forth below:



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 To Robert “Bob” Gross:                          Robert Gross
                                                 205 E Dimond Boulevard, No. 515
                                                 Anchorage, Alaska 99515
                                                 Telephone: (907) 360-3880

 To Melodie Gross:                               Melodie Gross
                                                 205 E Dimond Boulevard, No. 515
                                                 Anchorage, Alaska 99515
                                                 Telephone: (907) 360-3880

 To AK Meritage Companies, LLC:                  AK Meritage Companies, LLC
                                                 Attn: Robert Gross
                                                 205 E Dimond Boulevard, No. 515
                                                 Anchorage, Alaska 99515
                                                 Telephone: (907) 360-3880

 To RB Enterprises, LLC:                         RB Enterprises, LLC
                                                 Attn: Robert Gross
                                                 205 E Dimond Boulevard, No. 515
                                                 Anchorage, Alaska 99515
                                                 Telephone: (907) 360-3880

 To IT, LLC:                                     IT, LLC
                                                 Attn: Robert Gross
                                                 205 E Dimond Boulevard, No. 515
                                                 Anchorage, Alaska 99515
                                                 Telephone: (907) 360-3880

 To Bistro IT, LLC:                              Bistro IT, LLC
                                                 Attn: Robert Gross
                                                 205 E Dimond Boulevard, No. 515
                                                 Anchorage, Alaska 99515
                                                 Telephone: (907) 360-3880

 To Meritage Management Company, LLC:            Meritage Management Company, LLC
                                                 Attn: Robert Gross
                                                 205 E Dimond Boulevard, No. 515
                                                 Anchorage, Alaska 99515
                                                 Telephone: (907) 360-3880

 with a copy to
 (which shall not constitute notice):




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 To Bankruptcy Counsel for Robert “Bob”          Buchalter, a Professional Corporation
 Gross, Melodie Gross, AK Meritage               Attn: Nancy K. Swift, Esq.
 Companies, LLC, and RB Enterprises, LLC:        16435 North Scottsdale Road, Suite 440
                                                 Scottsdale, Arizona 85254-1754
                                                 Telephone: (408) 383-1804
                                                 nswift@buchalter.com

                                                 and

                                                 Buchalter, a Professional Corporation
                                                 Attn: Anthony J. Napolitano, Esq.
                                                 1000 Wilshire Boulevard, 15th Floor
                                                 Los Angeles, California 90017
                                                 Telephone: (213) 891-0700
                                                 anapolitano@buchalter.com

 with a copy to
 (which shall not constitute notice):

 To Litigation Counsel for Robert “Bob”          Boyd, Chandler, Falconer & Munson, LLP
 Gross, Melodie Gross, AK Meritage               Attn: Bruce Falconer, Esq.
 Companies, LLC, and RB Enterprises, LLC:        911 West Eighth Avenue, Suite 302
                                                 Anchorage, Alaska 99501
                                                 Telephone: (907) 272-8401
                                                 bfalconer@bcfaklaw.com

 To Jack A. Barrett:                             Jack A. Barrett
                                                 34806 North 80th Way
                                                 Scottsdale, Arizona 85262-1027
                                                 Telephone: (907) 229-8023

 To Dawn E. Barrett:                             Dawn E. Barrett
                                                 34806 North 80th Way
                                                 Scottsdale, Arizona 85262-1027
                                                 Telephone: (907) 230-7362

 To Meritage Companies, LLC:                     Meritage Companies, LLC
                                                 Attn: Jack A. Barrett
                                                 34806 North 80th Way
                                                 Scottsdale, Arizona 85262-1027
                                                 Telephone: (907) 229-8023

 To Mystery Ranch, LLC:                          Mystery Ranch, LLC
                                                 Attn: Jack A. Barrett
                                                 34806 North 80th Way
                                                 Scottsdale, Arizona 85262-1027
                                                 Telephone: (907) 229-8023

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 To Mountain Vista Trails, LLC:                   Mountain Vista Trails, LLC
                                                  Attn: Dawn E. Barrett
                                                  34806 North 80th Way
                                                  Scottsdale, Arizona 85262-1027
                                                  Telephone: (907) 230-7362

 To NOC 1700, LLC.:                               NOC 1700, LLC
                                                  Attn: Dawn E. Barrett
                                                  30 N Gould St. Suite N
                                                  Sheridan, WY 82801
                                                  Telephone: (907) 230-7362

 with a copy to
 (which shall not constitute notice):

 To Bankruptcy Counsel for Jack Barrett and       Guidant Law, PLC
 Meritage Companies, LLC:                         Attn: D. Lamar Hawkins, Esq.
                                                  402 East Southern Avenue
                                                  Tempe, Arizona 85282
                                                  Telephone: (602) 888-9229
                                                  lamar@guidant.law

 with a copy to
 (which shall not constitute notice):

 To Litigation Counsel for Jack Barrett, Dawn     Smith Knowles, PC
 Barrett, Meritage Companies, LLC, Mystery        Attn: M. Darrin Hammond, Esq.
 Ranch, LLC, and Mountain Vista Trails,           2225 Washington Blvd., Suite 200
 LLC:                                             Ogden, Utah 84401
                                                  Telephone: (801) 476-0303
                                                  dhammond@smithknowles.com

 with a copy to
 (which shall not constitute notice):

 To Counsel for Dawn Barrett, Mountain            Keery McCue, PLLC
 Vista Trails, LLC and NOC 1700, LLC:             Attn: Patrick F. Keery, Esq.
                                                  6803 E. Main Street, Suite 1116
                                                  Scottsdale, Arizona 85251
                                                  Telephone: (480) 478-0709
                                                  pfk@keerymccue.com

Service of any such notice, demand or request shall be deemed complete on the date of actual
delivery. Copies of such notice, demand or request sent to counsel for a specific Party shall not
constitute notice to such Party. Any Party may from time to time, by notice in writing served upon
the other Party designate a different mailing address or a different person or additional persons to
which all such notices, demand or requests are thereafter to be addressed.

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11.     Interpretation and Enforcement of Agreement.

        11.1. Entire Agreement. This Agreement is intended by the Parties as the entire,
integrated and final expression of their agreement with respect to the subject matter hereof. All
prior understandings, negotiations, stipulations and provisions relating to the subject matter of this
Agreement which preceded or may accompany the execution of this Agreement whether oral or
written are hereby merged into this Agreement.

        11.2. No Prejudice to Drafter. Each Party has had a full and ample opportunity to review
this Agreement and to make suggestions or changes to it. Accordingly, the Parties understand and
agree that this Agreement is deemed to have been drafted jointly by the Parties, and the Parties
agree that the common-law principles of construing ambiguities against the drafter shall have no
application hereto. This Agreement should be construed fairly and not in favor of or against one
Party as the drafter hereof.

        11.3. Further Assurances. The Parties hereto each agree to execute, acknowledge, verify,
deliver, furnish, and to do or cause to be done all other acts and things at such times and in such
form or substance as are reasonably necessary to effectuate the terms of this Agreement.

        11.4. Severability. Whenever possible, each provision of this Agreement shall be
interpreted in such manner as to be effective and valid under all applicable laws and regulations.
If, however, any provision of this Agreement shall be prohibited by or invalid under any such law
or regulation in any jurisdiction, it shall, as to such jurisdiction, be deemed modified to conform
to the minimum requirements of such law or regulation, or, if for any reason it is not deemed so
modified, it shall be ineffective and invalid only to the extent of such prohibition or invalidity
without affecting the remaining provisions of this Agreement, or the validity or effectiveness of
such provision in any other jurisdiction.

        11.5. Survival. The covenants, releases and indemnifications contained in this
Agreement shall survive the full performance of this Agreement. In the event that any provision
of this Agreement should be held to be void, voidable, unlawful or for any reason unenforceable,
the remaining provisions or portion of this Agreement shall remain in full force and effect, unless
such portion of the Agreement is so material that its deletion would violate the purpose and intent
of the Parties. This Agreement shall survive the conversion or dismissal of the Meritage
Bankruptcy Case, the Barrett Bankruptcy Case and/or the RB Bankruptcy Case and shall be
integrated into any Chapter 11 Plan filed in any of these cases. Any such Chapter 11 Plan shall
provide that the obligations of this Agreement shall survive the confirmation of such plan and shall
not be discharged under such plan. Any discrepancy between any such Chapter 11 Plan and this
Agreement shall be resolved in favor of this Agreement.

        11.6.    Enforcement of Agreement.

                         11.6.1.       The Parties specifically agree that, unless this Agreement is
                 void ab initio: (1) this Agreement is admissible as evidence and subject to
                 disclosure in any enforcement proceedings, if enforcement is necessary; (2) all of
                 the material terms of the settlement are set forth herein; (3) this Agreement is
                 enforceable under Rule 58 of the Federal Rules of Civil Procedure, Rule 7058 of

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                 the Federal Rules of Bankruptcy Procedure, Rule 58 of the Alaska Rules of Civil
                 Procedure or other similar state laws, and the court, upon motion of either Party,
                 may enter judgment pursuant to the terms hereof; and (4) neither Party shall oppose
                 a motion under Rule 58 of the Federal Rules of Civil Procedure, Rule 7057 of the
                 Federal Rules of Bankruptcy Procedure, Rule 58 of the Alaska Rules of Civil
                 Procedure or other similar state laws to enter judgment pursuant to the terms of this
                 Agreement on the ground that this Agreement is confidential or otherwise
                 privileged.

                          11.6.2.        Judge Daniel P. Collins shall retain jurisdiction over this
                 Settlement until the Effective Date and shall retain jurisdiction over all actions
                 necessary to be taken by any Party to carry out the terms of this Agreement. After
                 the Effective Date and the and completion of those actions, Judge Madeleine
                 Wanslee shall have jurisdiction regarding this Agreement and the order(s)
                 approving the Agreement. The Alaska Superior Court shall retain jurisdiction as
                 necessary to enforce the terms of the Agreement with respect to issues solely within
                 that court’s jurisdiction. The Utah District Court shall retain jurisdiction as
                 necessary to enforce the terms of the Agreement solely with respect to issues within
                 that court’s jurisdiction. The Alaska Bankruptcy Court shall retain jurisdiction as
                 necessary to enforce the terms of the Agreement solely with respect to issues within
                 that court’s jurisdiction.

                          11.6.3.       The failure by any Party to enforce any term or provision of
                 this Agreement shall not constitute a waiver of the right to enforce the same term
                 or provision, or any other term or provision, thereafter. No waiver by any Party of
                 any term or provision of this Agreement shall be deemed or shall constitute a waiver
                 of any other provision of this Agreement, whether or not similar, nor shall any such
                 waiver constitute a continuing waiver unless otherwise expressly provided in
                 writing.

        11.7. Successors and Assigns. This Agreement, including the general releases contained
herein, shall inure to the benefit and be binding on the Parties and, as applicable, their assigns, and
their successors in interest, including successors in interest whether by purchase, merger,
assignment or otherwise.

       11.8. No Modification. This Agreement may not be amended or supplemented, nor may
any rights hereunder be waived, except in a writing signed by each of the Parties hereto.

       11.9. Headings. Headings contained in this Agreement are inserted as a matter of
convenience and for reference, and are not intended and shall not be construed to define, limit,
extend or otherwise describe the scope of this Agreement or any provision of this Agreement.

12.     Governing Law and Jurisdiction.

        12.1. Governing Law. Without regard to the principles of choice of law or conflicts of
law of the particular state or of any other jurisdiction, this Agreement shall be governed by (i) the
laws of the State of Alaska with respect to any dispute related to the Inlet Tower Hotel, (ii) the

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laws of the State of Utah with respect to any dispute related to the North Ogden Project, and (iii) the
laws of the State of Arizona with respect to any dispute related to any other issue not covered
under Paragraph 13.1(i) or (ii).

        12.2. Venue. The forum for resolution of any dispute arising out of this Agreement shall
be (i) the Alaska Superior Court, Third Judicial District at Anchorage with respect to any dispute
related to the Inlet Tower Hotel, (ii) the Utah District Court with respect to any dispute related to
the North Ogden Project, or (iii) the Arizona Bankruptcy Court, if either the Meritage Bankruptcy
Case or the Barrett Bankruptcy Case have not been closed, or Arizona Superior Court, Maricopa
County, for any other issue not covered by Paragraph 13.2 (i) or (ii).

13.     Miscellaneous Provisions.

        13.1. Counterparts. This Agreement may be executed in any number of counterparts,
each of which, when executed and delivered, shall be deemed to be an original, and all of which,
when taken together, shall constitute but one and the same Agreement. Delivery of an executed
counterpart of this Agreement by facsimile or electronic mail shall be equally as effective as
delivery of a manually executed counterpart of this Agreement. Any party delivering an executed
counterpart of this Agreement by facsimile or electronic mail shall deliver a manually executed
counterpart of this Agreement, but the failure to deliver a manually executed counterpart shall not
affect the validity, enforceability, and binding effect of this Agreement.

       13.2. Electronic Signatures. The Parties shall be bound by their affixed signatures hereto
which may be transmitted by facsimile or electronic mail (in .pdf format) as if such signatures
were original “ink” signatures, in which case each one shall constitute an original.

       13.3. Time is of the Essence. The Parties hereto agree that time is of the essence for this
Agreement and that it is of the utmost importance that all of the obligations hereunder be fully
performed in strict accordance with the dates and times set forth herein.

        13.4. Cumulative Remedies. Any specific right or remedy set forth in this Agreement,
legal, equitable or otherwise, shall not be exclusive, but shall be cumulative with all other rights
or remedies set forth herein or allowed or allowable by law.

                               [SIGNATURE PAGES FOLLOWS]




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        IN WITNESS WHEREOF, the Parties hereto have caused this Agreement to be executed
as of the date first written above.

 ROBERT “BOB” GROSS                                 JACK A. BARRETT


 By: _______________________________                By: _______________________________
       Robert “Bob” Gross                                 Jack A. Barrett, as debtor
                                                          and debtor in possession

 MELODIE A. GROSS                                   DAWN E. BARRETT


 By: _______________________________                By: _______________________________
       Melodie A. Gross                                   Dawn E. Barrett
 RB ENTERPRISES, LLC, as debtor and                 MERITAGE COMPANIES, LLC, as debtor
 debtor in possession                               and debtor in possession

 By: _______________________________                By: _______________________________
       Robert “Bob” Gross, as Manager and                 Jack A. Barrett, as Manager and
       authorized representative                          authorized representative

 AK MERITAGE COMPANIES, LLC                         MYSTERY RANCH, LLC,


 By: _______________________________                By: _______________________________
       Robert “Bob” Gross, as Manager and                 Jack A. Barrett, as Manager and
       authorized representative                          authorized representative

 IT, LLC                                            MOUNTAIN VISTA TRAILS, LLC


 By: _______________________________                By: _______________________________
       Robert “Bob” Gross, as Manager and                 Dawn E. Barrett, as Manager and
       authorized representative                          authorized representative
 BISTRO IT, LLC                                     MERITAGE MANAGEMENT COMPANY,
                                                    LLC

 By: _______________________________                By: _______________________________
        Robert “Bob” Gross, as Manager and                 Robert “Bob” Gross, as Manager and
 authorized representative of RB Enterprises,       authorized representative of RB Enterprises,
 LLC, a 50% member of Bistro IT, LLC                LLC, a member of Meritage Management
                                                    Company, LLC

 By: _______________________________                By: _______________________________
        Jack A. Barrett, as Manager and                    Jack A. Barrett, as 50% member of
 authorized representative of Mystery Ranch,        Meritage Management Company, LLC
 LLC, a 50% member of Bistro IT, LLC


                                                    NOC 1700, LLC

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                                            By: _______________________________
                                                  Dawn E. Barrett, as authorized
                                                  representative




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                                          Exhibit 1



                 Assignment and Transfer of the IT, LLC Membership Interest




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                                         Exhibit 2



             Assignment and Transfer of the Bistro IT, LLC Membership Interest




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                                           Exhibit 3



                 Articles of Dissolution for Meritage Management Company, LLC




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                                       Exhibit 4



                 Articles of Dissolution for AK Meritage Companies, LLC




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                                       Exhibit 5



       Stipulation re (1) Return of Alaska Mystery Ranch Action Registry Funds and
   (2) Dismissal of Alaska Mystery Ranch Action and Alaska Mystery Ranch Arbitration




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                                            Exhibit 6



                  Order Approving Stipulation re (1) Return of Alaska Mystery
                 Ranch Action Registry Funds and (2) Dismissal of Alaska Mystery
                      Ranch Action and Alaska Mystery Ranch Arbitration




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                                         Exhibit 7



                    Stipulation re (1) Return of Alaska Meritage Action
                 Registry Funds and (2) Dismissal of Alaska Meritage Action




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                                             Exhibit 8



                   Order Approving Stipulation re (1) Return of Alaska Meritage
                 Action Registry Funds and (2) Dismissal of Alaska Meritage Action




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                                        Exhibit 9



                 Stipulation to Dismiss the Barrett Adversary Proceeding




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                                        Exhibit 10



          Order Approving Stipulation to Dismiss the Barrett Adversary Proceeding




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                                      Exhibit 11



                 Stipulation to Dismiss Claims in the 2016 Utah Action




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                                         Exhibit 12



            Order Approving Stipulation to Dismiss Claims in the 2016 Utah Action




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                                      Exhibit 13



                 Stipulation to Dismiss Claims in the 2020 Utah Actions




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                                         Exhibit 14



           Order Approving Stipulation to Dismiss Claims in the 2020 Utah Actions




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                                           Exhibit 15



                 Stipulation to Dismiss the RB Enterprises, LLC Bankruptcy Case




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                                          Exhibit 16



                 Order Approving Stipulation to Dismiss the RB Bankruptcy Case




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                                           Exhibit 17



                 Notice of Withdrawal of Claim No. 5 in Meritage Bankruptcy Case




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                                           Exhibit 18



                 Notice of Withdrawal of Claim No. 6 in Meritage Bankruptcy Case




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                                           Exhibit 19



                 Notice of Withdrawal of Claim No. 13 in Barrett Bankruptcy Case




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                                           Exhibit 20



                 Notice of Withdrawal of Claim No. 14 in Barrett Bankruptcy Case




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